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                          UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                               BEAUMONT DIVISION

UNITED STATES OF AMERICA                        §
                                                §
V.                                              §     CASE NO. 1:11-CR-5(2)
                                                §
JOHN PHIL FITZGERALD                            §

                           MEMORANDUM ORDER
              ADOPTING FINDINGS OF FACT AND RECOMMENDATION
                        ON DEFENDANT’S GUILTY PLEA

       The Court referred this matter to the Honorable Keith F. Giblin, United States Magistrate

Judge, for administration of a guilty plea under Rules 11 and 32 of the Federal Rules of Criminal

Procedure. Judge Giblin conducted a hearing in the form and manner prescribed by Federal Rule

of Criminal Procedure 11 and issued his Findings of Fact and Recommendation on Guilty Plea

Before the United States Magistrate Judge [Doc. #125].

       The magistrate judge recommended that the Court accept the defendant’s guilty plea and

conditionally accept the plea agreement. He further recommended that the Court finally adjudge the

defendant as guilty on Count Twenty-Four of the charging Second Superseding Indictment filed

against the defendant in this cause.

       The parties have not objected to the magistrate judge’s findings. The Court ORDERS that

the Findings of Fact and Recommendation on Guilty Plea [Doc. #125] of the United States

Magistrate Judge are ADOPTED, in part. The Court adopts the magistrate judge’s findings that the

defendant’s plea is voluntary and that his plea is supported by an independent factual basis




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establishing each of the essential elements of the charged offense. However, the Court defers

acceptance of the plea agreement until after review of the presentence report.


            So ORDERED and SIGNED this 21 day of December, 2011.




                                                          ___________________________________
                                                          Ron Clark, United States District Judge




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